            Case: 21-1786 Document:
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                                                      Filed 02/21/24

                 Supreme Court of the United States
                        Office of the Clerk
                    Washington, DC 20543-0001
                                                                    Scott S. Harris
                                                                    Clerk of the Court
                                                                    (202) 479-3011
                                 February 20, 2024


   Clerk
   United States Court of Appeals for the Sixth Circuit
                                                                               FILED
                                                                             Feb 21, 2024
   540 Potter Stewart U.S. Courthouse
                                                                    KELLY L. STEPHENS, Clerk
   100 East Fifth Street
   Cincinnati, OH 45202-3988


         Re: Sidney Powell, et al.
             v. Gretchen Whitmer, Governor of Michigan, et al.
             No. 23-486
             (Your No. 21-1786)


   Dear Clerk:

         The Court today entered the following order in the above-entitled case:

         The petition for a writ of certiorari is denied.



                                           Sincerely,




                                           Scott S. Harris, Clerk
